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UNITED STATES DISTRICT COL"RT
MIDDLE DISTRICT OF FLORII)A
JACKSONVILLE DIVISION

 

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Jonathon Russo, . ,-.4;3 ....
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Plaintiff, 312-g ¢_).?
‘ ‘ ?.`;’.c`r.a 63
"'"" j ;>1;;““ Q'
Medicredit, lnc.; and DOES 1-10, inclusive,
Del"endants.

 

COMPLAINT

For this Complaint, the Plaintifr`, .l`onathon Russo, by undersigned counsel, states as
t`ollows:

,l URISDICTION
l.

This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Aet, 15 U.S.C. § 1692, er seq. (the “FDCPA”), and the Telephone

Consurner Pz'otection Act 47 U.S.C. § 221 er seq. (the “TCPA].
2.

Venue is proper in this District pursuant to 23 U,S.C. § l39l(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to
this action occurred in this [)istrict.

PARTIES
3.

Plaintiff, Jonathon Russo (“Plaintifi""), is an adult individual residing in

Interlachen, Flonida, and is a "consurner" as the term is defined by 15 U.S.C. § 169221(3) and is a
“person” as defined by 4? U.S.C. § 153(39).

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4, Defendant Medicredit, Inc. (“Medicrcdit”), is a Missouri business entity with an
address of 3620 Interstate 'FU Dri ve Southeast, Colunibia, Missouri 65201-65 32. operating as a
collection agency, and is a “debl collector” as the term is defined by 15 U.S.C. § 1692a(6) and
is a “person" as defined by 4? U.S.C. § 153(39).

5. Does l~lU (thc “Collectors") are individual collectors employed by McdiCredit
and whose identities are currently unknown to the Plaintii"f. One or more of the Collectors may
bejoincd as parties once their identities are disclosed through discovery.

6. Medicredit al all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLICABLE 'I`O ALL COUNTS
A- MJ_€_|J_L

7. Plaintii`f allegedly incurred a financial obligation (the “Debt”) to an original
creditor {the “Creditor").

8. The Debt arose from services provided by the Creditor which were primarily for
fami]y, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §
l692a(5).

9. The Debt was purchased, assigned or transferred to Medicredit for collection, 01‘
Medicredit was employed by the Creditor to collect the Debt.

10. Defendants attempted to collect the Debt and, as such, engaged in

“comrnunications” as defined in 15 U.S.C. § 1692a(2
B. MediCredit E_rlgagcs in Harassment and Abusive Tactics
l 1. On or about July 25, 201?, Medicredit began placing calls to Plaintii"i"’s cellular

telephone, number ??2-xxx-1213, in an attempt to collect the Debt.

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12. At all times mentioned herein, Medicredit placed calls to Plaint'ifl"s cellular
telephone number using an automatic telephone dialing system (“ATDS”).

13. When Plaintiff answered calls from Medicredit, he heard silence and had to wait
on the line to be connected to the next available representative

14. During thc initial phone call, Plaintiff spoke with a live representative and
requested that the calls cease.

15. Nevertheless, Medicredit continued to place automated calls to Plaintiff’s cellular
telephone number.

C. Plaintiff Suffered Actual Damages

lo. Plaintiff has suffered and continues to suffer actual damages as a result of
l)e'l"endants’ unlawful conduct.

1?. As a direct consequence of" Defendants’ acts, practices and conduct, Plaintiff
suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,
frustration and embarrassment

COUNT I
VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692. et seCl.

18. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

19. Defendants’ conduct violated 15 U.S.C. § 1692d in that Del"endants engaged in
behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

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20. Dei"endants’ conduct violated 15 U.S.C. § 1692d(5`) in that Defendants caused a
phone to ring repeatedly and engaged the Plaintil`l` in telephone conversations, with the intent to
annoy and harass.

21, Defendants’ conduct violated 15 U.S.C. § 16921` in that Defendants used unfair
and unconscionable means to collect a debt,

22. The foregoing acts and omissions ol" De'|"ent|ants constitute numerous and multiple
violations o'l" the FDCPA, including every one of the above-cited provisions

23. Plaintiff is entitled to damages as a result of Def"endants’ violations

COUNT II
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT-
4’? U.S.C. § 227, et seg

24. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

25. At all times mentioned herein, Defendants called Plaintiff’s cellular telephone
number using an ATDS or predictive dialer.

26. `[n expanding on the prohibitions of the TCPA, the Federal Communications
Commission (“FCC") defines a predictive dialer as “a dialing system that automatically dials
consumers’ telephone numbers in a manner that “predicts” the time when a consumer will
answer the phone and a [representative] will be available to take the call...”ZOOj’ TCPA Order,
18 FCC 36 Rcd 14022` The FCC explains that if a representative is not “free to take a call that
has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’
or a dial tone, causing frustration,” Id. ln addition, the TCPA places prohibitions on companies

that “abandon" calls by setting “the predictive dialers to ring for a very short period of time

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before disconnecting the call; in such cases, the predictive dialer does not record the Call as
having been abandoned.” i'd.
2?. Defendants’ telephone system{s) have some earmarks of a predictive dialer.
23. When Plaintiff answered calls from Defendants, he heard silence before
Defendants’ telephone system would connect him to the next available representative

29. Defendants’ predictive dialers have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

30. Defendants placed automated calls to Plaintiff"s cellular telephone number despite
knowing that they lacked consent to do so. As such, each call placed to Plaintiff was made in
knowing and!or willful violation of the TCPA, and subject to treble damages pursuant to 4?
U.S.C. § 227(b)(3)(C).

31, The telephone number called by Defendants was assigned to a cellular telephone
service for which Plaintiff incurs charges pursuant to 4? U.S.C. § 22?(b)(l).

32. Plaintiff was annoyed, harassed and inconvenienced by Defendants’ continued
calls.

33. The calls from Defendants to Plaintiff were not placed for “emergency purposes”
as defined by 4? U.S.C. §22?(b)(1)(A)(i),

34. Plaintiff is entitled to an award of $500.(}0 in statutory damages for each call in
violation ol" the TCPA pursuant to 411 U.S.C. § 227(b)(3)(]3).

35, Plaintiff is entitled to an award ot` treble damages in an amount up to $1,500,00
pursuant to 4? U.S.C. § 227(b)(3)(B) and 4? U.S.C. § 22?(`0)(3)((`_`).

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

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1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Del"endants;

!\.)

Statutory damages of$l,UUO.UU pursuant to 15 U.S.C. §1692k(a)(2)(_A);

3. Costs oflitigation and reasonable attorney’s fees pursuant to 15 U.S.C, §
`1692k(a)(3) against the Defendant;

4. Statutory damages of 3500 for each and every call in violation of the TCPA
pursuant to 4? U.S.C, § 22?([>)(3)(}3);

5. Treble damages of up to $l ,500 for each and every call in violation of the
TCPA pursuant to 47 U.S.C. § 22?(b)(3)(C);

6. Punitive damages;

?. An award of attorneys‘ fees and costs to counsel for Plaintiff; and

S. Such other and further relief as may be just and proper.

TRIAL BY IURY DENIANDED ON ALL COUNTS

Dated: February 15, 2018
Respect'l`ul ly submitted,

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